Filed 12/28/17                                                             Case 14-02278                                                                                  Doc 537



                                                    UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF CALIFORNIA


           ,QUH Erik J. Sundquist                                                                        &DVH1R 10-35624
                     Renee Sundquist                                                     
                                                                                                          $'91R 14-02278
                                                                                         
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                                    RECEIPT OF PLEADINGS AND DOCUMENTS
                             FROM THE UNITED STATES BANKRUPTCY APPELLATE PANEL


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                                                   12/28/17
           Copy of Opening Letter, Briefing Order, BK Record Request Form, E-Filing Admin Order and BAP Rules
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Filed 12/28/17         Case: 17-1347, Document:
                                            Case
                               U.S. Bankruptcy  2-1,14-02278
                                                     Filed: 11/29/2017
                                                       Appellate        Page 1 of 2
                                                                     Panel                                         Doc 537

                                             of the Ninth Circuit
                                    125 South Grand Avenue, Pasadena, California 91105
                                       Appeals from Central California (626) 229-7220
                                        Appeals from all other Districts (626) 229-7225



           RE:             ERIK J. SUNDQUIST, RENEE SUNDQUIST

            Appellant:     DENNISE HENDERSON
            BAP No.:       EC-17-1347                         Notice of Appeal Filed on 11/28/17
            Bk. No.:       10-35624                           Adv. No.(s):       2:14-ap-2278

                                                 OPENING LETTER

           Notice of Appeal in this case has been received by the Bankruptcy Appellate Panel (BAP) and
           assigned the case number above.

           Electronic filing using the BAP's Case Management/Electronic Case Filing (CM/ECF) docketing
           system is mandatory for all attorneys. Please review the Administrative Order Regarding
           Electronic Filing in BAP Cases available on the BAP website www.bap9.uscourts.gov for
           further information.

           For non-attorneys, all papers filed with the BAP should be in the form of an original and three
           copies.

           The BAP docket and other court information is available through the National PACER system.
           http://www.bap9.uscourts.gov

           Enclosed are the 9th Cir. BAP Rules governing practice before the BAP. Appeals are also
           governed by Parts VIII and IX of the Federal Rules of Bankruptcy Procedure (F.R.B.P.), and
           some parts of the Federal Rules of Appellate Procedure (F.R.A.P.) See 9th Cir. BAP Rule 8026-1.

           Pursuant to 9th Cir. Rule 8003-1, please immediately send the BAP Clerk a copy of the signed
           and entered order or judgment being appealed if it was not attached to your notice of appeal.

           After a Notice of Appeal has been filed, the parties' next step in prosecuting this appeal is
           compliance with F.R.B.P 8009, which require Appellant to file within 14 days in the bankruptcy
           court a designation of the record, statement of issues on appeal, and a notice regarding the
           ordering of transcripts. Under these rules Appellee may also file a supplemental designation of
           the record and order transcripts. The party ordering the transcripts must make satisfactory
           arrangements for payment of their costs.

           Even if transcripts are not ordered, Appellant is required to file with the bankruptcy court a
           notice stating that none are required. See also 9th Cir. BAP R. 8009-1.

           The parties should note that the designation of the record under F.R.B.P. 8009 is a necessary
           procedural step in prosecuting an appeal and the parties may not later include in their excerpts of
           the record documents which have not been designated.
                                                                                                                     (2 of 27)
                         Case:
            The record and
Filed 12/28/17                  17-1347,
                            bankruptcy  fileDocument:
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                                                                                                 the2Panel             Doc 537
            reviews only those items which are reproduced and included in the excerpts of the record filed at
            the time of the briefs. While the Panel may call up the formal record, in practice this rarely
            occurs.

            Further, it is the parties' responsibility to monitor the appeal to ensure that transcripts are timely
            filed and the record is completed in a timely manner. Under F.R.B.P. 8010(a)(2)(C), the court
            reporter is required to file transcripts within 30 days of receipt of the parties' request, unless an
            extension has been granted.

            After the record is complete, the Clerk of the bankruptcy court will send a Certificate of Record,
            sometimes referred to as a Certificate of Readiness or Certificate of Transcripts, to the BAP
            Clerk.

            Appeals are set for hearing in the bankruptcy district from which the appeal arose whenever
            feasible. To expedite the appeal or if the parties feel argument is unnecessary, they may file a
            stipulation or motion to submit their appeal on the briefs and record, thereby waiving oral
            argument. The Panel will also consider stipulations requesting an alternative hearing location or
            hearing by telephone conference. Such motions should be filed at the earliest possible scheduled
            date, generally with the opening brief, as once a case has been scheduled for argument,
            continuance and request of change time and place are rarely granted.

                                               CERTIFICATE OF MAILING


            The undersigned, deputy clerk of the U.S. Bankruptcy Appellate Panel of the Ninth Circuit,
            hereby certifies that a copy of the document on which this certificate appears was transmitted
            this date to all parties of record to this appeal.

                                                                 By: Cecil Lizandro Silva, Deputy Clerk
                                                                 Date: November 29, 2017
                                                                                                                (3 of 27)
Filed 12/28/17        Case:UNITED
                            17-1347,STATES
                                      Document:
                                            Case2-2,14-02278
                                           BANKRUPTCYFiled: 11/29/2017 Page 1 of 3
                                                            APPELLATE PANEL                                       Doc 537

                                         OF THE NINTH CIRCUIT
                                                                                                  FILED
            ______________________________________________________________                         NOV 29 2017
            In re: ERIK J. SUNDQUIST; RENEE SUNDQUIST                                         SUSAN M. SPRAUL, CLERK
                                                                                                 U.S. BKCY. APP. PANEL
                                                                                                 OF THE NINTH CIRCUIT
                        lllllllllllllllllllllDebtors

                      ------------------------------                      BAP No. EC-17-1347

                      DENNISE HENDERSON
                                                                          Bankr. No. 10-35624
                       lllllllllllllllllllllAppellant                    Adv. No. 2:14-ap-2278
                                                                              Chapter 13
                                    v.

            ERIK J. SUNDQUIST; RENEE SUNDQUIST

                       lllllllllllllllllllllAppellees                        November 29, 2017
            ____________________________________________________________________________



                                                     BRIEFING ORDER
                                                  (Prompt Action Required)

            Unless otherwise ordered by this court, the parties to this appeal shall timely complete all of
            the briefing deadlines set forth below. Failure of the parties to comply with these deadlines
            may result in dismissal of this appeal or in the imposition of other sanctions. These deadlines
            control and supersede any briefing deadlines set forth in the Federal Rules of Bankruptcy
            Procedure ("FRBP").

            Last day for appellant(s) to file opening brief and appendix: Tuesday, January 16, 2018.
            Last day for appellee(s) to file responsive brief and appendix: Twenty-one days after
            service of appellant's opening brief.
            Last day for appellant(s) to file optional reply brief: Fourteen days after service of
            appellee's reply brief.

            Requirements for filing a brief, an appendix (excerpts of the record), and required certificates
            are set forth in FRBP 8014, 8015 and 8018, and Ninth Circuit BAP Rules 8018(a)-1,
            8018(b)-1, and 8015(a)-1. See also 9th Cir. BAP Rule 8009-1 (describing requirements for the
            inclusion of transcripts in the excerpts of the record).

            Briefs in this case shall not exceed the following page limits:
                  Appellant(s)' opening brief shall not exceed 30 pages.
                  Appellee(s)' opening brief shall not exceed 30 pages.
                  Appellant(s)' optional reply brief shall not exceed 15 pages.
            The page limits set forth herein supersede those set forth in Ninth Circuit BAP Rule
            8015(a)-2. Parties may also choose to comply with the type-volume limitations set forth in
            FRBP 8015(a)(7).
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Filed 12/28/17          Case:file
             Attorneys must     17-1347,
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                                                             14-02278
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                                                                 electronically via ECF.Page  2 of
                                                                                         See the   3
                                                                                                 Order           Doc 537
             Regarding Electronic Filing in BAP Cases available on the BAP website
             www.bap9.uscourts.gov. Colored covers and additional copies are not required for
             electronically filed briefs and excerpts of record.

              Parties not required to file electronically need only file an original brief and appendix
              (excerpts of record). This supersedes the requirements for additional copies in BAP Rule
              8018(a)-1 and 8018(b)-1.

              The parties generally should expect that oral argument will occur shortly after briefing is
              completed. Please refer to the attached materials regarding advance consideration of issues
              concerning oral argument.

              FAILURE OF APPELLANT TO TIMELY PROVIDE AN ADEQUATE OPENING
              BRIEF AND ADEQUATE EXCERPTS OF THE RECORD IN COMPLIANCE WITH
              THE GOVERNING RULES MAY RESULT IN DISMISSAL OF THE APPEAL, OR IN
              SUMMARY AFFIRMANCE OF THE RULING ON APPEAL. See Morrissey v.
              Stuteville (In re Morrissey), 349 F.3d 1187 (9th Cir. 2003).

                                                          FOR THE PANEL,

                                                          Susan M Spraul
                                                          Clerk of Court



                   SUMMARY OF REQUIREMENTS FOR BRIEFS AND EXCERPTS OF THE
                                         RECORD

              This Summary is intended to help the parties file their briefs and appendix in the proper
              format, but it is not a substitute for reading and complying with all of the procedural rules
              listed in the Briefing Order, which rules govern the format and content of each brief and
              appendix. Briefs that do not comply with national and local rules may not be accepted for
              filing. Your attention is particularly called to the following requirements:

              LENGTH -- Thirty pages for the opening briefs of appellant and appellee. Fifteen pages for
              appellant's reply brief, if any. Parties may also choose to comply with the type-volume
              limitations set forth in FRBP 8015(a)(7).

              NUMBER -- For non-electronic filers: a signed original brief and one excerpt of record; for
              electronic filers: no paper copies of the brief or excerpts of the record.

              APPENDIX (Excerpts of The Record) -- The parties are required to include copies of all
              relevant documents from the bankruptcy court record, including transcripts, in their excerpts.

              FORMAT OF APPENDIX -- A paper appendix must comply with the requirements of 9th Cir.
              BAP Rule 8018 (b) - 1. FAILURE TO TAB ALL DOCUMENTS IN THE APPENDIX, TO
              CONTINUOUSLY PAGINATE THE ENTIRE APPENDIX, AND TO PROVIDE A TABLE
              OF CONTENTS IN THE FORM SPECIFIED IN THE ABOVE-REFERENCED RULE
              MIGHT SEVERELY HAMPER THE PANEL'S REVIEW OF THE ISSUES ON APPEAL.
              An electronic appendix must comply with Rule 3 of the Order Regarding Electronic Filing in
                                                                                                                  (5 of 27)
             BAP CasesCase:
Filed 12/28/17               17-1347,
                       available        Document:
                                 on the BAP     Case
                                            website 2-2, Filed: 11/29/2017
                                                       14-02278
                                                    www.bap9.uscourts.gov.             Page 3 of 3                  Doc 537

            CERTIFICATES -- Both appellant's and appellee's opening brief must contain a Certificate of
            Interested Parties. Appellants brief must also contain a Certificate of Related Cases.

            CALCULATION OF TIME -- Paper briefs are deemed filed on the day of mailing. FRBP
            8011(a)(2). Electronic briefs are deemed filed when the filing is successfully completed. See
            Rule 7 of the Administrative Order Regarding Electronic Filing in BAP Cases.




               ADVANCE CONSIDERATION OF ISSUES CONCERNING ORAL ARGUMENT

            While the parties are briefing, the BAP is considering where and when to set oral argument.
            Because the BAP seeks to set argument as soon as practical after briefing is completed, any
            stipulations, motions or notices concerning oral argument should be filed at the earliest
            possible time, generally with a party's first brief. While appeals typically are set for hearing in
            the bankruptcy district from which the appeal arose whenever feasible, the parties may file a
            stipulation or motion requesting an alternative hearing location or a hearing by telephone or
            video conference. The parties also may file a stipulation or motion to submit their appeal on
            the briefs and record, thereby waiving oral argument.

            All parties should carefully review the dates on the BAP's annual hearing calendar located on
            the BAP's website: http://www.bap9.uscourts.gov. This calendar contains dates that the BAP
            judges have set aside for argument, and it is likely that your appeal will be set for hearing on
            one of these dates. If a party knows or suspects that he or she will be unavailable on one of
            these dates, he or she should file as soon as possible a notice of unavailability, stating the
            dates on which he or she is unavailable. Once a case has been scheduled for argument,
            continuances and requests to change time or place are rarely granted.




                                             CERTIFICATE OF MAILING

            The undersigned, deputy Clerk of the U.S. Bankruptcy Appellate Panel of the Ninth Circuit,
            hereby certifies that a copy of the document to which this certificate is attached was
            transmitted this date to all parties of record to this appeal, to the United States Trustee and to
            the Clerk of the Bankruptcy Court.

                                                         By: Cecil Lizandro Silva, Deputy Clerk
                                                         Date: November 29, 2017
                                                                                                              (6 of 27)
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                                                Case2-3,14-02278
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                                       U.S. Bankruptcy Appellate Panel
                                              of the Ninth Circuit
                                          125 South Grand Avenue, Pasadena, California 91105
                                             Appeals from Central California (626) 229-7220
                                              Appeals from all other Districts (626) 229-7225



           To: Clerk, Bankruptcy Court

           Debtor(s): ERIK J. SUNDQUIST, RENEE SUNDQUIST

           BAP No.: EC-17-1347
           Bk. Ct. No.: 10-35624                                ADV. NO.: 2:14-ap-2278



           The Bankruptcy Appellate Panel has received and docketed the notice of appeal referenced in the
           attached transmittal. The BAP case number is indicated above for your information.

           If completion of the record has been delayed, please advise us as to the cause of the delay by
           completing the following checklist and sending a copy of this letter back to us:

           IF THE RECORD ON APPEAL IS COMPLETE, PLEASE SEND THE CERTIFICATE
           OF READINESS

           Susan M Spraul, BAP Clerk

           By: Cecil Lizandro Silva, Deputy Clerk
           Date: November 29, 2017

             A) REASONS WHY THE RECORD HAS NOT BEEN COMPLETED. THE FOLLOWING ITEMS HAVE NOT
           BEEN FILED:

                   [   ]   No Filing Fees paid
                   [   ]   No Designation of Record
                   [   ]   No Statement of Issues
                   [   ]   No Notice Regarding the Transcript
                   [   ]   No Reporter's Transcript(s)

                             Rep orter name:__________________________________
                             p hone:________________________________
                             Ju dge:__________________________________________
                             Transcript date(s):_____________________________

                   []      No Transcript Fees paid
                   []      Extension of Time Granted to Reporter:
                           New deadline:___________________________________
                   []      Other:__________________________________________

             B) DEPUTY CLERK PROCESSING THIS APPEAL

                       1. Name:_________________________________________________
                       2. Phone:________________________________________________
                       3. Date:_________________________________________________
                                                                                                    (7 of 27)
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                               United States Bankruptcy Appellate Panel
                                          for the Ninth Circuit

                          Administrative Order Regarding Electronic Filing in
                                             BAP Cases
                                          [February 2, 2015]

                  The United States Bankruptcy Appellate Panel for the Ninth Circuit (“BAP”)
           adopts the following provisions to govern the electronic filing of documents in
           cases before the BAP. These provisions may be amended from time to time, with
           or without prior notice, by further order of the BAP. The BAP may deviate from
           these procedures in specific cases if deemed appropriate in the exercise of its
           discretion.

                  Questions concerning electronic filing should be directed to the Clerk's
           office at 626-229-7220 or 626-229-7225, or can be emailed to:

                                    cmecf_bapca9@ca9.uscourts.gov

           Rule 1 - Electronic Registration and Filing Mandatory for Attorneys

           (a)   Unless the BAP grants a request to be exempted from these requirements,

                 (1)     all attorneys appearing, participating, or wanting to receive notices in
                         appeals before the BAP must register with the BAP’s Case
                         Management/Electronic Case Filing (CM/ECF) docketing system; and

                 (2)     electronic filing using the BAP’s CM/ECF docketing system is
                         mandatory for all attorneys.

           (b)   An attorney who seeks exemption from the requirement of mandatory
                 electronic filing may file a motion which states the reasons why the attorney
                 should be exempted from electronic filing. The BAP Clerk shall have the
                 authority to grant or deny such motions.

           Rule 2 - Registration and Training

           (a)   Registration is required to obtain a login and password for use of CM/ECF.




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           (b)   Registration is required specifically for the BAP, and this registration is
                 separate from registration for PACER or ECF in other courts.

           (c)   Licensed attorneys authorized to practice before the BAP may register
                 without leave of court at:

                                              www.pacer.gov

           (d)   Any litigant who is not a licensed attorney authorized to practice before the
                 BAP may file a motion requesting leave to register for CM/ECF.

           (e)   The Ninth Circuit Court of Appeals has computer-based training modules
                 explaining CM/ECF, PACER reports, and electronic filing. These training
                 modules can be accessed by logging into the court of appeals website
                 (www.ca9.uscourts.gov) and selecting “Electronic Filing - CM/ECF”. The
                 BAP strongly encourages all filers to review these training materials, as the
                 BAP’s electronic filing system is very similar to that of the court of appeals.

           Rule 3 - Excerpts of Record

           (a)   Excerpts of Record. For all cases opened at the BAP beginning February 1,
                 2015, all excerpts of record must be filed electronically.

                 (1)     A table of contents must be included in a separate .pdf which is the
                         first attachment to the excerpts of record docket event. Each
                         subsequent item in the excerpts of record must be contained in a
                         separate .pdf and labeled so that it is identifiable from the table of
                         contents. Every effort should be made to attach all .pdf’s to the same
                         docket event.

           (b)   Excerpts of Record. For cases opened before February 1, 2015, electronic
                 filing of the excerpts of record is optional. If excerpts are filed
                 electronically, no paper copies are required. If excerpts are not filed
                 electronically, the form, content and number of paper copies of a party’s
                 excerpts of record must continue to comply with the requirements of
                 Federal Rule of Bankruptcy Procedure 8018 and Ninth Circuit BAP Rule
                 8018(b)-1.

           (c)   Service. All parties must serve a paper copy of the excerpts of record on any
                 party not registered for BAP cm/ecf on the same day the excerpts of record


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                 are electronically filed.

           Rule 4 - Documents Which Can Not Be Filed Electronically

           (a)   Sealed Documents & Motions to File Documents Under Seal. Sealed
                 documents must be filed in paper format and must be accompanied by an
                 electronic version of the document on either CD or DVD. This includes
                 motions for permission to file a document under seal. The motion should
                 state whether the filing party believes the motion to seal itself may be made
                 available to the public or should remain sealed.

           Rule 5 - Signature

           (a)   All electronic filings must be signed.

           (b)   A signature consists of an "/s/" immediately followed by the typed name of
                 each signatory, or by some substantially similar method effectively
                 demonstrating the signatory’s intent to sign the filing.

           Rule 6 - Service

           (a)   A Certificate of Service is required for all electronic filings, and filers must
                 comply with the provisions of Federal Rule of Bankruptcy Procedure
                 8011(b), (c) and (d) when filing electronically.

           (b)   Sample Certificates of Service for documents electronically filed are
                 attached to this Order.

           (c)   The CM/ECF system will generate a Notice of Docket Activity when any
                 document is electronically filed. This notice constitutes service of the
                 document on all parties who have registered as BAP electronic filers
                 pursuant to Rule 2, above. Such registration constitutes consent to service
                 via the Notice of Docket Activity.

                 (I)      A filing party may obtain the names and addresses of parties who
                          have not registered for BAP electronic filing by logging into
                          CM/ECF, then selecting “Reports”, then selecting “Service List”, and
                          then typing in the case number.

                 (ii)     A filing party is not required to serve a paper copy of any


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                          electronically-filed document on any party who has registered as a
                          BAP electronic filer.

                 (iii)    Except as provided in the BAP’s fax filing rule (9th Cir. BAP Rule
                          8011(a)-2), or unless otherwise agreed in writing between the parties,
                          a filing party must serve a paper copy of any electronically-filed
                          document on any party who has not registered as a BAP electronic
                          filer, and must comply with Federal Rule of Bankruptcy Procedure
                          8011 (b), (c) and (d).

                 (iv)     Unless otherwise ordered, a Notice of Docket Activity generated after
                          close of business (5:00 p.m. Pacific Time), or on a weekend or holiday
                          will be deemed served on all registered BAP electronic filers at the
                          start of the next business day.

           (d)   For any document filed in paper format, the filer must comply with Federal
                 Rule of Bankruptcy Procedure 8011 (b), (c) and (d).

           Rule 7 - Filing Deadlines

           (a)   Electronic filing is permitted at all times, except when the system is
                 temporarily unavailable due to routine or emergency maintenance.

           (b)   Unless otherwise ordered, an electronic filing will be considered filed as of
                 the date and time the filing is successfully completed. The BAP's CM/ECF
                 system determines the date and time a filing is completed. A filing is timely
                 only if it is accomplished in accordance with the deadlines set by all
                 applicable court notices, orders, rules and statutes.

           (c)   If a technical failure prevents timely electronic filing of any document, the
                 filing party should promptly seek relief from the BAP.

           Rule 8 - Technical Requirements

           (a)   All electronic filings must be in Portable Document Format (also known as
                 .pdf or Adobe Acrobat Format).

           (b)   Except as otherwise specified in this Rule, or as otherwise ordered, the text
                 of all electronic filings must be searchable using Adobe Acrobat’s text
                 search function.


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           (c)   For some documents, primarily exhibits, a text-searchable version might not
                 be available. If so, the electronic filer may upload a version that is not text
                 searchable.

           (d)   Until further notice, the maximum size for a single attachment is 50
                 megabytes. Attachments exceeding 50 megabytes must be divided into
                 multiple attachments.

           Rule 9 - Hyperlinks

           (a)   Electronic filings may contain hyperlinks to statutes, rules, regulations, and
                 opinions.

           (b)   Hyperlinks do not replace citations to the appendix, record, or legal
                 authority. Documents must contain standard citations in support of
                 statements of fact or points of law, in addition to any hyperlink. Hyperlinks
                 are simply mechanisms for accessing material cited in a filed document and
                 are not considered part of the appellate record. The BAP accepts no
                 responsibility for the availability or functionality of any hyperlink and does
                 not endorse any organization, product, or content at any hyperlinked site.

           Rule 10 - Privacy

           (a)   In compliance with Fed. R. App. P. 25(a)(5) and Fed. R. Bankr. P. 9037,
                 parties must refrain from including, or must partially redact where inclusion
                 is necessary, the following personal data identifiers from all documents filed
                 with the BAP:

                       <       Minors' names (use initials only);
                       <       Social Security numbers (use last four digits only);
                       <       Dates of birth (use year of birth only);
                       <       Financial account numbers (identify the type of account and
                               institution and provide the last four digits of the account
                               number).

           (b)   The filer bears sole responsibility for redacting documents.




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           Rule 11 - Other limitations and restrictions concerning Electronic Filing

           (a)   Except as otherwise specified in this Rule, or as otherwise ordered, an
                 electronic filer duly registered pursuant to Rule 2, above, may only file
                 documents in BAP appeals where he or she is counsel of record, or where he
                 or she is a party of record appearing pro se.

           (b)   Except as otherwise specified in these Rules, or as otherwise ordered, an
                 electronic filer may not submit (by US Mail or by fax or by email) additional
                 copies of any documents filed electronically through CM/ECF.

           (c)   A party seeking to appear as an Amicus Curiae in a BAP appeal should
                 contact the BAP Clerk’s Office for guidance if they desire to file
                 electronically.

           Rule 12- What is Attached to the Docket available on PACER

           (a)   Unless otherwise ordered, all documents that are filed electronically will be
                 attached to the PACER docket.

           (b)   Unless otherwise ordered, when the BAP receives a document only in paper
                 format, the BAP will scan the document and attach it to the PACER docket.




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                              SAMPLE CERTIFICATES OF SERVICE
                             FOR DOCUMENTS FILED USING CM/ECF

           Certificate of Service When All Case Participants Are CM/ECF Participants

           I hereby certify that on _____[date]______, I electronically filed the foregoing
           document with the Clerk of the Court for the Bankruptcy Appellate Panel for the
           Ninth Circuit by using the CM/ECF system.

           I certify that all parties of record to this appeal either are registered CM/ECF users,
           or have registered for electronic notice, or have consented in writing to electronic
           service, and that service will be accomplished through the CM/ECF system.

           _____________/s/_____________

           ******************************************************************
           Certificate of Service When Not All Case Participants Are CM/ECF
           Participants

           I hereby certify that on _____[date]______, I electronically filed the foregoing
           document with the Clerk of the Court for the Bankruptcy Appellate Panel for the
           Ninth Circuit by using the CM/ECF system.

           I further certify that parties of record to this appeal who either are registered
           CM/ECF users, or who have registered for electronic notice, or who have
           consented in writing to electronic service, will be served through the CM/ECF
           system.

           I further certify that some of the parties of record to this appeal have not consented
           to electronic service. I have mailed the foregoing document by First-Class Mail,
           postage prepaid, or have dispatched it to a third party commercial carrier for
           delivery within 3 calendar days, to the following parties:
           __________________________________________________________________
           __________________________________________________________________
           __________________________________________________________________

           _____________/s/_____________
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                                                RULES

                                                OF THE

                                       UNITED STATES

                    BANKRUPTCY APPELLATE PANEL

                                OF THE NINTH CIRCUIT




                                                 PREAMBLE

                 These rules of the United States Bankruptcy Appellate Panel of the Ninth Circuit are
           promulgated under the authority of Federal Rule of Bankruptcy Procedure 8026.


                                                    Adopted: February 24, 2000
                                                    As Revised: June 15, 2015
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                                                     8003-1
                                                NOTICE OF APPEAL

                   ORDER BEING APPEALED. The appellant shall attach to the notice of appeal filed
           in bankruptcy court a copy of the entered judgment, order or decree from which the appeal
           was taken. The clerk of the bankruptcy court shall forward these items to the BAP Clerk.
           If the notice of appeal is filed before entry of the order being appealed, it is appellant’s duty
           to forward to the BAP Clerk a copy of the judgment or order immediately upon entry.


                                               8005-1
                                TRANSFER OF APPEAL TO DISTRICT COURT


                   The Panel may transfer an appeal to the district court to further the interests of
           justice, such as when a timely statement of election has been filed in a related appeal, or
           for any other reason the Panel deems appropriate.


                                                       8009-1
                                                    TRANSCRIPTS

                  The excerpts of the record shall include the transcripts necessary for adequate
           review in light of the standard of review to be applied to the issues before the Panel. The
           Panel is required to consider only those portions of the transcript included in the excerpts
           of the record. Parties shall consult local bankruptcy rules with regard to the proper
           procedure for ordering transcripts or for indicating that transcripts are not necessary.

                                                  Explanatory Note:

                          This rule addresses two problems. The first occurs when appellants
                  challenge the oral tentative rulings, and/or the oral findings of fact and conclusions
                  of law of the bankruptcy court, and do not include sufficient transcripts in the
                  excerpts of the record to allow the Panel to properly review the bankruptcy court’s
                  decision. If findings of fact and conclusions of law were made orally on the record,
                  a transcript of those findings is mandatory. In re McCarthy, 230 B.R. 414, 416 (9th
                  Cir. BAP 1999).

                          The second problem arises when an appellant challenges a factual finding.
                  In order to review a factual finding for clear error, the record should usually include
                  the entire transcript and all other relevant evidence considered by the bankruptcy
                  court. See In Re Friedman, 126 B.R. 63, 68 (9th Cir. BAP 1991) (failure to provide
                  an adequate record may be grounds for affirmance); In re Burkhart, 84 B.R. 658 (9th
                  Cir. BAP 1988).

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                                                  8010-1
                                            APPELLATE RECORD

                   As soon as the statement of issues, designation of record, and any transcripts that
           have been designated are filed with bankruptcy court, the clerk of the bankruptcy court
           shall transmit to the BAP Clerk a certificate that the record is complete. The record shall
           be retained by the clerk of the bankruptcy court. The BAP Clerk may request a copy of the
           record from the clerk of the bankruptcy court.


                                                8011(a)-1
                                             COMMUNICATIONS


                  All communications to the BAP shall be addressed to the Clerk of the United States
           Bankruptcy Appellate Panel of the Ninth Circuit, Richard H. Chambers Court of Appeals
           Building, 125 South Grand Avenue, Pasadena, California 91105.


                                                   8011(a)-2
                                                  FAX FILING

                   The BAP does not accept for filing documents transmitted by telephone facsimile
           machine (“fax”), except in emergency circumstances. Permission of the BAP Clerk, prior
           to the transmittal of the document, is always required.

                   Any document transmitted to the BAP by fax must be served on all other parties by
           fax or hand delivery, unless another form of service is authorized by the BAP Clerk, and
           the method of service shall be expressly stated on the proof of service. Within three days
           after the fax transmittal, the filing party shall file a signed original with the BAP.


                                                8013(d)-1
                                           EMERGENCY MOTIONS


                 (a) Contents. The motion and supporting declaration(s) must set forth the facts
           showing the existence and nature of the alleged immediate and irreparable harm.

                  (b) Appendix. The emergency motion must be accompanied by an appendix
           containing:
                        (1)  A conformed copy of the notice of appeal, and
                        (2)  A copy of the entered judgment, order or decree from which the

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                                appeal was taken;
                         (3)    If the emergency motion concerns a stay pending appeal, the
                                appendix must also contain:
                                       (I) a conformed copy of the court’s order denying or granting
                                       the stay and any explanation by the court of its ruling, or a
                                       declaration explaining why such a copy is unavailable; and
                                       (ii) copies of all papers regarding the stay filed in bankruptcy
                                       court.

                                                Explanatory Note:

                          When the emergency motion concerns a stay pending appeal, the parties
                  are directed to Nken v. Holder, 556 U.S. 418,434 (2009), for standards in granting
                  a stay pending appeal.


                                            8013(e)-1
                           DELEGATION OF AUTHORITY TO ACT ON MOTIONS


                   The BAP judges may delegate to the BAP Clerk authority to act on motions that are
           subject to disposition by a single judge pursuant to FRBP 8013(e), upon the condition that
           the order entered on the motion does not dispose of the appeal or resolve a motion for stay
           pending appeal. The order disposing of the motion is subject to reconsideration by a judge
           if a written request for judicial review is received within fourteen (14) days of the entry of
           the order.


                                                8015(a)-1
                                   BRIEF CERTIFICATION REQUIREMENTS

                   (a) Certification as to Interested Parties. To enable the judges of a Panel to
           evaluate possible disqualification or recusal, all parties, other than governmental parties,
           shall attach to their initial brief, a list of all persons, associations of persons, firms,
           partnerships and corporations that have an interest in the outcome of the case. The
           certification should be in substantially the following form:




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                          Certification Required by BAP Rule 8015(a)-1(a)

                         [BAP NUMBER, DEBTOR’S NAME ]

                         The undersigned certifies that the following parties have an
                         interest in the outcome of this appeal. These representations
                         are made to enable judges of the Panel to evaluate possible
                         disqualification or recusal [list the names of all such parties and
                         identify their connection and interest]:



                         Signed                                 Dated


                   (b) Certification of Related Cases. The appellant shall attach to the opening brief
           a statement of all known related cases and appeals before the United States Court of
           Appeals, the United States District Court, or the BAP. A related case is defined as one
           which involves substantially the same litigants, substantially the same factual pattern or
           legal issues, or arises from a case previously heard by the Panel. The certification should
           be in substantially the following form:

                          Certification Required by BAP Rule 8015(a)-1(b)

                         [BAP NUMBER, DEBTOR’S NAME]

                         The undersigned certifies that the following are known related
                         cases and appeals [list the case name, court and status of all
                         related cases and appeals]:


                         Signed                                 Dated


                                                 Explanatory Note:

                         Failure to comply with the Briefing Rules may result in striking the brief and
                  dismissing the appeal, N/S Corp., v. Liberty Mutual Ins. Co., 127 F.3d 1145 (9th Cir.
                  1997), or imposing sanctions, In re MacIntyre, 181 B.R. 420, 422 (9th Cir. BAP
                  1995), aff’d, 77 F.3d 489 (9th Cir. 1996).

                         Briefs and excerpts of the record shall be securely fastened by any
                  appropriate means.




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                                                 8018(a)-1
                                       BRIEFS - EXTENSIONS OF TIME

                  (a) Requirements. A motion for extension of time to file a brief shall be filed within
           the time limit for the filing of such brief and shall be accompanied by a proof of service.
           The motion shall be supported by a declaration stating:

                         (1)    When the brief was initially due;
                         (2)    How many extensions of time, if any, have been granted;
                         (3)    Reasons why this extension is necessary;
                         (4)    The specific amount of time requested; and
                         (5)    The position of the opponent(s) with respect to the motion or why the
                                moving party has been unable to obtain a statement of such
                                position(s).

                  (b) BAP Clerk Authority. The BAP Clerk is authorized to grant extensions of time
           under the direction and guidelines of the Panel.

                   (c) Consequences. A brief received after the due date will not be accepted for
           filing unless it is accompanied by a motion for an extension of time and the motion is
           granted. The Panel has no obligation to consider a late brief. Sanctions may be imposed,
           such as the waiver of oral argument, monetary sanctions or dismissal.


                                               8018(a)-2
                                 DISMISSAL FOR FAILURE TO PROSECUTE


                   When an appellant fails to file an opening brief timely, or otherwise fails to comply
           with rules or orders regarding processing the appeal, the BAP Clerk, after notice, may enter
           an order dismissing the appeal. The order dismissing the appeal is subject to
           reconsideration by the Panel if a written request for judicial review is received within
           fourteen (14) days of the entry of the order.


                                               8018(b)-1
                                  APPENDIX (EXCERPTS OF THE RECORD)

                  (a) Form. Attorneys and all other electronic filers shall file the appendix
           electronically. Any party not otherwise required to file electronically shall file the excerpts
           of record in paper format.



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                 (b) Organization of Appendix.

                        (1)    Documents in a paper appendix shall be divided by tabs. Documents
                               in an electronic appendix shall be divided into separate .pdfs.
                        (2)    The appendix shall contain a complete table of contents.
                               (i)    For paper appendices, the table of contents shall list the
                               documents and identify both the tab and page number where each
                               document is located. If the appendix has more than one volume, the
                               table of contents shall also identify the volume in which each
                               document is located.
                               (ii)   For electronic appendices, each .pdf shall be labeled so that it
                               is identifiable from the table of contents.

                                             Explanatory Note:

                        The Panel generally limits its review to an examination of the excerpts
                 of the record as provided by the parties. The Panel is not obligated to
                 examine portions of the record not included in the excerpts. See In re Kritt,
                 190 B.R. 382, 386-87 (9th Cir. BAP 1995); In re Anderson, 69 B.R. 105, 109
                 (9th Cir. BAP 1986).

                        The parties are further referred to FRBP 8014(a)(6) and (8) and (b)
                 (formerly 8010(a)(1)(D) and (a)(2)) which address the related problem
                 created by appellants who do not make explicit references to the parts of the
                 record that support their factual allegations and arguments. Opposing parties
                 and the court are not obliged to search the entire record unaided for error.
                 See Dela Rosa v. Scottsdale Memorial Health Systems, Inc., 136 F.3d 1241
                 (9th Cir. 1998); Syncom Capital Corp. v. Wade, 924 F.2d 167, 169 (9th Cir.
                 1991); FRAP Rule 10(b)(2).


                                                 8019-1
                                             ORAL ARGUMENT

                The BAP Clerk will provide notice of the time and place of argument. Once the
          hearing date is scheduled, a motion for continuance will be granted only under exceptional
          circumstances.

                The Panel may determine that oral argument is not needed either sua sponte or on
          motion for submission of the appeal on the briefs. If the Panel determines that oral
          argument is not needed, it will issue an order to that effect.




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                                          Rule 8019-2
                         EN BANC HEARING AND DETERMINATION OF APPEALS

                 (a)    EN BANC HEARING AND DISPOSITION AUTHORIZED; NOT FAVORED.
          The Panel may hear and dispose of an appeal by sitting en banc as authorized in this rule.
          An en banc hearing or decision of an appeal is not favored and ordinarily will not be ordered
          unless it appears that it is necessary to secure or maintain uniformity of the Panel’s
          decisions including, without limitation, when there is a challenge to an existing precedent
          of the Panel.

                 (b)     PROCEDURE FOR A PARTY TO REQUEST AN EN BANC HEARING.

                         (1) Motion. A party may request that the Panel hear and decide an appeal
                 en banc. The request must be made by motion filed with the Clerk and served upon
                 the other parties to the appeal (including any party appearing amicus curiae). Such
                 motion should be filed and served not later than the date set for the filing of that
                 party’s opening brief. If made, the motion must be accompanied by a brief setting
                 forth the reasons why an en banc hearing and decision of an appeal is appropriate
                 under the standard set forth in subsection (a).

                        (2) Response. Any other party to the appeal (including any party appearing
                 amicus curiae) may file and serve a response to the motion and brief not later than
                 fourteen (14) days after the motion is filed. No reply brief is authorized.

                        (3) Page Limit. The motion or response, together with the brief in support
                 thereof, must not exceed a combined total of 15 pages.

                 (c)     PROCEDURE FOR THE PANEL INITIALLY ASSIGNED TO APPEAL TO
                         REQUEST AN EN BANC HEARING.

                 Two or more of the judges assigned to hear and decide the merits of an appeal,
                 including any pro tem judge, may request that the Panel should hear and decide an
                 appeal en banc. The request should be made prior to the disposition of the appeal.

                 (d)     PROCEDURE FOR DETERMINING WHETHER APPEAL SHOULD BE
                         HEARD EN BANC

                        (1) Vote of the Panel. If a timely request for an en banc hearing and
                 decision is made under either subsection (b) or (c), the Clerk will promptly poll the
                 regular members of the Panel eligible to participate in the disposition of that appeal.

                       (2) Affirmative Vote; Minimum Number of Judges Who Must Participate.
                 The appeal will be heard (or, as appropriate, reheard) and decided en banc if :


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                                  (a) at least five regular members of the Panel are eligible to
                          participate, and do participate, in the vote; or, if less than five members of the
                          Panel are eligible to participate in the en banc call, the Chief Judge of the
                          Ninth Circuit, after consultation with the Presiding Judge, shall designate such
                          pro tem judges as may be necessary to bring the number of the judges
                          considering the en banc call to five, and all five judges vote; and

                                 (b) a majority of the judges polled vote in favor of the request.

                         (3) Negative Vote. If a timely request for an en banc hearing and decision
                 is made under subsection (b) or (c), and no affirmative vote as required by paragraph
                 (2) is obtained within fourteen (14) days of the initial polling, the matter will not be
                 heard en banc.

                 (e)      PROCEDURE AFTER REQUEST AND VOTE.

                        (1) Constituting the En Banc Panel. If the Panel votes to hear and decide
                 a matter en banc, the en banc panel shall consist of all members of the Panel eligible
                 to participate in the appeal's disposition, but in no event may an en banc panel
                 consist of fewer than five judges. If fewer than five members of the Panel are eligible
                 to participate in the en banc hearing, the Chief Judge of the Ninth Circuit, after
                 consultation with the Presiding Judge, shall designate such pro tem judges as may
                 be necessary to bring the membership of the en banc panel to five.

                        (2) Order Regarding Vote; Procedure Thereafter. The Presiding Judge of
                 the Panel shall promptly cause an order to be entered that is consistent with the
                 results of any vote taken in accordance with subsection (d), and with the actions
                 required by subsection (e). Thereafter, the Clerk, in consultation with the Presiding
                 Judge, will take such actions as are necessary or appropriate to carry out such order.


                                                 Rule 8024-1
                                            DISPOSITION OF APPEAL

               (a) DISPOSITION. The Panel will dispose of all appeals by entry of an Opinion,
          Memorandum or Order.

                 (b) DESIGNATION.

                          (1) Opinion. A disposition of an appeal may be designated as an Opinion if
                 it:

                                 (A ) Establishes, alters, modifies or clarifies a rule of law;


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                               (B) Calls attention to a rule of law which appears to have been
                               generally overlooked;

                               (C) Criticizes existing law; or

                               (D) Involves a legal or factual issue of unique interest or substantial
                               public importance.

                       (2) Memorandum or Order. A disposition of an appeal not designated as an
                 Opinion will be designated as either a Memorandum or an Order.

                        (3) Manner of Designation. A disposition shall be designated an Opinion if:

                               (A) two of the three judges assigned to hear and dispose of the
                               appeal, including the author of the disposition, agree that the
                               disposition shall be designated an Opinion at the time such disposition
                               is filed with the Clerk, or within 28 days thereof; or

                               (B) an interested party, or any member of the Panel, requests, in
                               writing, that a Memorandum or Order be redesignated as an Opinion,
                               and that it be published. The request must be received no later than
                               28 days after the filing of the Memorandum or Order and must state
                               concisely the reasons for publication. The judges assigned to hear and
                               dispose of the appeal shall vote on whether to change the initial
                               designation and, if two of the three judges assigned to hear and
                               dispose of the appeal, including the author of the disposition, agree
                               that the disposition shall be designated an Opinion.

                 (c) CITATION AND EFFECT.

                         (1) Opinions. Opinions shall be published. They shall bind the Panel as
                 precedent unless they are modified or reversed in an Opinion issued by the Panel
                 sitting en banc, or unless they no longer are precedent due to changes in the law,
                 whether by act of Congress or by decision of the Ninth Circuit Court of Appeals or the
                 Supreme Court.

                      (2) Memoranda and Orders. Except as provided in subsection (d),
                 Memoranda and Orders will not be published, and shall have no precedential value.

                 (d) PUBLICATION.

                       (1) Opinions. If the disposition is to be published, the BAP Clerk will release
                 a copy to recognized channels for dissemination to the public.

                        (2) Orders. An Order may be designated for publication if so designated by

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                 the process provided in subsection (b)(3), with the following changes: (I) only two
                 judges, one of whom is the author of the Order, need to agree as to publication; and
                 (ii) the Order shall be treated as if it were a disposition of the appeal for all other
                 purposes of applying that subsection. When so published, the Order may be used
                 for any purpose for which an Opinion may be used. Upon designation as published,
                 the BAP Clerk will release a copy to recognized channels for dissemination to the
                 public.


                                                 8026-1
                                        SILENCE OF LOCAL RULES

                 In cases where Part VIII of the Federal Rules of Bankruptcy Procedure and these
          rules are silent as to a particular matter of practice, a Panel may apply the Rules of the
          United States Court of Appeals for the Ninth Circuit and the Federal Rules of Appellate
          Procedure.


                                                  8026-2
                                            CITATION TO RULES


                 These rules shall be cited as: “9th Cir. BAP R.            .”


                                                  Rule 9001-1
                                                 DEFINITIONS

                 (a)   The words "BAP Clerk" as used in these rules mean the Clerk of the United
          States Bankruptcy Appellate Panel of the Ninth Circuit.
                 (b)   The word "Judge" as used in these rules, unless otherwise designated, means
          a member of the United States Bankruptcy Appellate Panel of the Ninth Circuit.
                 (c)   The word "Panel" as used in these rules means a panel of the judges of the
          United States Bankruptcy Appellate Panel of the Ninth Circuit.
                 (d)   The acronym "BAP" as used in these rules means United States Bankruptcy
          Appellate Panel of the Ninth Circuit.
                 (e)   The acronym “FRBP” as used in these rules means Federal Rules of
          Bankruptcy Procedure.
                 (f)   The acronym "FRAP" as used in these rules means Federal Rules of Appellate
          Procedure.




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                                              9010-1
                              ATTORNEYS--Duties, Withdrawal, Substitution

                (a) DUTIES. Counsel must ensure that the appeal is perfected on behalf of the
          represented party in a manner and within the times prescribed in all applicable rules and
          must prosecute the appeal with diligence. Counsel must provide counsel’s name, bar
          number, address, and telephone number on all documents filed with the BAP. Changes in
          address of counsel or client must be reported to the BAP Clerk in writing.

                 (b) ADMISSION. Any attorney admitted to practice before a District Court of the
          Ninth Circuit or the Court of Appeals for the Ninth Circuit and who is in good standing before
          such court shall be deemed admitted to practice before the BAP. An attorney not so
          admitted may apply to the BAP for permission to appear in a particular appeal.

                (c) WITHDRAWAL AND SUBSTITUTION. No attorney who has appeared in an
          appeal before the BAP may withdraw without either:

                        (1)    Filing and serving a Notice of Substitution of Attorney. The notice shall
                        contain substitute counsel’s name, bar number, address, telephone number
                        and signature; or

                        (2)    Obtaining an order of the BAP allowing the attorney to withdraw. The
                        BAP may grant such an order if an attorney files and serves on opposing
                        counsel and the attorney’s client a motion to withdraw as counsel. Any motion
                        to withdraw shall include the client’s current address and telephone number.

                 (d) NOTICE OF APPEARANCE. Immediately upon undertaking the representation,
          any attorney who represents a party in an appeal, and who is not identified in either the
          notice of appeal or a notice of substitution of attorney, shall file and serve a notice of
          appearance containing counsel’s name, bar number, address, telephone number and
          electronic mail address.


                                                   9010-2
                                               PRO SE PARTIES


                  Parties unrepresented by counsel and appearing before the Panel are considered to
          be “pro se parties” representing themselves. Only individuals are permitted to appear pro
          se. Pro se parties must ensure their appeal is perfected in a manner and within the time
          limits prescribed in all applicable rules and must prosecute the appeal with diligence.
          Changes in address must be reported to the BAP Clerk in writing.



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                                                Explanatory Note:

                         See In re Rainbow Magazine, Inc., 77 F.3d 278 (9th Cir. 1996); In re Eisen,
                 14 F.3d 469, 471 (9th Cir. 1994). Corporations, partnerships and associations are
                 not permitted to appear in federal court except through a licensed attorney. Rowland
                 v. California Men’s Colony, 506 U.S. 194 (1993); In re America West Airlines, Inc.,
                 40 F.3d 1058 (9th Cir. 1994).




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